






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00790-CR







Ex parte Teresa Karen Voges







FROM THE DISTRICT COURT OF COMAL COUNTY, 207TH JUDICIAL DISTRICT


NO. C-2000-939B, HONORABLE WILLIAM E. BENDER, JUDGE PRESIDING







Teresa Karen Voges applied for a writ of habeas corpus seeking relief from a
judgment of contempt rendered by the Comal County Court at Law.  The writ issued, but relief was
denied following a hearing.  We will affirm the district court's order.

Voges was tried for driving while intoxicated in the Comal County Court at Law.  On
the day Voges's trial began, the State filed a motion in limine asking that the parties, witnesses, and
attorneys be instructed not to refer to or elicit testimony regarding any body cavity search, strip
search, or any other type of search of Voges without first obtaining a ruling outside the jury's
presence on the admissibility of the testimony.  The motion was granted.  

Voges testified on her own behalf at the trial, and a record of her testimony was
introduced as an exhibit at the writ hearing.  During a rambling answer to a question regarding the
arresting officer's conduct at the police station, Voges stated that she "was strip searched and asked
to remove my tampon with my bare hand."  The prosecutor objected at Voges's mention of a strip
search, but Voges continued to testify even as the prosecutor was voicing his objection.  The court
subsequently declared a mistrial on the State's motion, dismissed the jury, and held Voges in
contempt. (1)  The written judgment of contempt states:


[D]uring her testimony the Defendant intentionally violated the Court's order by
presenting testimony to the jury that she had been strip searched by the jailers and
forced to remove her tampon with her bare hand, or words to that effect.  Her
testimony was not in response to the question of her attorney and she continued to
proffer the testimony despite an objection lodged by the State's attorney.  The
testimony was in direct violation of the Court's Order in Limine and her attorney
stated on the record that he had informed her not to testify to such matters without
permission of the Court.



Voges contends the contempt order violated her due process rights because there is
no evidence that she intentionally violated the court's order in limine.  This habeas corpus
proceeding is a collateral attack on the contempt judgment.  Ex parte Rohleder, 424 S.W.2d 891, 892
(Tex. 1967).  The burden was on Voges to establish that the contempt order was void, and not merely
voidable.  In re Scariati, 988 S.W.2d 270, 272 (Tex. App.--Amarillo, orig. proceeding).  The habeas
corpus court may not weigh the evidence to determine whether it preponderates against the
judgment, but may treat the contempt order as void only if the evidence conclusively establishes that
fact.  Ex parte Linder, 783 S.W.2d 754, 760 (Tex. App.--Dallas 1990, orig. proceeding).

The parties agree that the dispositive issue is whether Voges had been told before she
testified that the court had ordered her not to mention the strip search.  Absent such knowledge, there
would be no support for the finding that she "intentionally violated" the order in limine.  

The Honorable Brenda Freeman, Judge of the Comal County Court at Law, testified
at the writ hearing.  She acknowledged during questioning by Voges's attorney that she did not
personally advise Voges of the order in limine or instruct her not to mention the strip search. 
Following up on this, counsel for the State asked Judge Freeman, "But you did inform Mr. Greene
[Voges's trial attorney] and asked [sic] him whether or not he notified his client?"  The judge
answered, "Absolutely."  "And," asked the prosecutor, "did he have any hesitation when he told you
that he told her not to violate the order?"  "Not at all," answered Judge Freeman. 

Voges testified that she was not present when the motion in limine was presented to
the court for a ruling.  She said that Greene told her before she testified that the strip search "was
irrelevant to the case" and not to mention it.  She acknowledged violating counsel's instructions, but
testified that Greene never told her that she was under a court order not to mention the strip search. 
Voges stated that she would not have violated the court's order had she known of it.

A reading of the trial record reflects that after Voges made the allegedly
contemptuous remarks, Judge Freeman asked counsel, "Mr. Greene, did you instruct your client not
to refer to that strip search?"  Counsel replied, "Yes, I did, Judge."  Counsel was not expressly asked
and did not state that he had informed Voges of the court's order.  Given the context of the court's
question and counsel's answer, however, it was a reasonable inference that he had done so.  Greene
did not testify at the writ hearing.  As an officer of the court, he could have provided probative
evidence as to precisely what Voges had been told by him regarding the order in limine.

On this record, we cannot state that Voges carried her burden of establishing that the
contempt judgment is without evidentiary support and void.  The district court's order denying relief
is affirmed.



				__________________________________________

				David Puryear, Justice

Before Justices Kidd, B. A. Smith and Puryear

Affirmed

Filed:   June 14, 2001

Do Not Publish
1.        Voges was acquitted of the driving while intoxicated charge at a second trial.



dmissibility of the testimony.  The motion was granted.  

Voges testified on her own behalf at the trial, and a record of her testimony was
introduced as an exhibit at the writ hearing.  During a rambling answer to a question regarding the
arresting officer's conduct at the police station, Voges stated that she "was strip searched and asked
to remove my tampon with my bare hand."  The prosecutor objected at Voges's mention of a strip
search, but Voges continued to testify even as the prosecutor was voicing his objection.  The court
subsequently declared a mistrial on the State's motion, dismissed the jury, and held Voges in
contempt. (1)  The written judgment of contempt states:


[D]uring her testimony the Defendant intentionally violated the Court's order by
presenting testimony to the jury that she had been strip searched by the jailers and
forced to remove her tampon with her bare hand, or words to that effect.  Her
testimony was not in response to the question of her attorney and she continued to
proffer the testimony despite an objection lodged by the State's attorney.  The
testimony was in direct violation of the Court's Order in Limine and her attorney
stated on the record that he had informed her not to testify to such matters without
permission of the Court.



Voges contends the contempt order violated her due process rights because there is
no evidence that she intentionally violated the court's order in limine.  This habeas corpus
proceeding is a collateral attack on the contempt judgment.  Ex parte Rohleder, 424 S.W.2d 891, 892
(Tex. 1967).  The burden was on Voges to establish that the contempt order was void, and not merely
voidable.  In re Scariati, 988 S.W.2d 270, 272 (Tex. App.--Amarillo, orig. proceeding).  The habeas
corpus court may not weigh the evidence to determine whether it preponderates against the
judgment, but may treat the contempt order as void only if the evidence conclusively establishes that
fact.  Ex parte Linder, 783 S.W.2d 754, 760 (Tex. App.--Dallas 1990, orig. proceeding).

The parties agree that the dispositive issue is whether Voges had been told before she
testified that the court had ordered her not to mention the strip search.  Absent such knowledge, there
would be no support for the finding that she "intentionally violated" the order in limine.  

The Honorable Brenda Freeman, Judge of the Comal County Court at Law, testified
at the writ hearing.  She acknowledged during questioning by Voges's attorney that she did not
personally advise Voges of the order in limine or instruct her not to mention the strip search. 
Following up on this, counsel for the State asked Judge Freeman, "But you did inform Mr. Greene
[Voges's trial attorney] and asked [sic] him whether or not he notified his client?"  The judge
answered, "Absolutely."  "And," asked the prosecutor, "did he have any hesitation when he told you
that he told her not to violate the order